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14                                 UNITED STATES DISTRICT COURT

15                               NORTHERN DISTRICT OF CALIFORNIA

16

17     MPH Technologies Oy,                           Case No.   3:18-cv-05935-TLT

18                           Plaintiff,               APPLE’S RESPONSIVE CLAIM
                                                      CONSTRUCTION BRIEF
19            v.
                                                      Date: December 11, 2023
20     Apple Inc.,                                    Time: 11:00 a.m.
                                                      Courtroom: 9
21                           Defendant.               Judge: Hon. Trina L. Thompson

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 1    I.      INTRODUCTION

 2            MPH seeks to expand its patents to cover systems and methods that the applicants did not

 3    invent. For example, MPH contends that the terms “exchange” and “negotiating” require no

 4    interaction at all and that the IPSec security protocol that the applicants called “essential” is

 5    actually optional.

 6            Apple’s constructions, by contrast, are properly rooted in the claim language, the

 7    specifications, and the prosecution histories. Apple’s constructions generally result in claims

 8    consistent with what the applicants said they invented, with the exception of claims that have

 9    structural errors rendering them indefinite. The Court should adopt Apple’s constructions.

10    II.     MPH’S ASSERTED PATENTS

11            MPH’s patents, which originate from applications filed in 2001 and 2002, are all directed

12    to one problem: how to modify the existing IPSec protocol to handle mobile devices. (See ’949

13    patent, 4:27-281 (“The problem with standard IPSec is thus that it has been designed for static

14    connections.”); ’581 patent, 4:36-37 (“The problem with standard IPSec tunnel end points are that

15    they are fixed.”); ’302 patent, 4:55-56 (“IPSec does not work well with mobile devices.”).) As

16    discussed below, each patent discloses a modification to IPSec to accommodate mobile devices.

17            A.     The Claimed Invention of the Intermediate Computer Patents

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26            (Box 1 = first computer; Box 2 = intermediate computer; Box 3 = second computer)
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       The ’949, ’397, ’494, ’502, and ’362 patents (“Intermediate Computer Patents”) share the same
28    specification. For convenience and simplicity, Apple cites only to the ’949 specification.

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 1              The Intermediate Computer Patents disclose positioning an “intermediate computer”

 2    between the sending and receiving devices (a.k.a. “first computer” and “second computer”).

 3    (E.g., ’949 patent, 6:27-30; Fig. 1 (annotated above).) The specification explains that “[a]n

 4    essential idea of the invention is to use the standard protocol (IPSec) between the intermediate

 5    computer and the second computer and an ‘enhanced IPSec protocol’ between the first computer

 6    and the intermediate computer.” (Id., 7:29-32.2) The “enhanced” IPSec protocol, unlike the

 7    standard one, enables updates when the first computer changes addresses. (Id., 7:37-60.)

 8              The intermediate computer uses a translation table to convert the variable parameters of its

 9    “enhanced” IPSec connection with the first computer into the static parameters of its “standard”

10    IPSec connection with the second computer. (Id., 7:32-46.) The converted parameters include IP

11    addresses and IPSec-specific parameters called “SPI values.” (Id., 7:37-41.) The specification

12    provides a detailed explanation of how the intermediate computer translates IP addresses and SPI

13    values. (Id., 11:23-12:11.) The specification does not discuss any non-IPSec embodiment.

14              B.     The Claimed Invention of the ’581 Patent
15              The specification of the ’581 patent declares that “[t]he applicant has solved the above

16    problems of prior art by defining a signalling [sic] mechanism that allows an existing IPSec

17    security association, that is, the symmetric encryption and authentication algorithms used for

18    packet processing, along with their keys and other parameters, to be moved from one network to

19    another.” (’581 patent, 7:23-28.) The specification provides details about this signaling

20    mechanism that go beyond the present claim construction disputes. (Id., 7:38-8:12.)

21              C.     The Claimed Invention of the ’302 Patent

22              The ’302 patent’s solution to the IPSec mobility problem is for a mobile device to form

23    multiple IPSec connections. (See ’302 patent, 7:21-33.) When the mobile device changes

24    addresses, it can use a preexisting connection instead of establishing a new connection, which the

25    specification says is time consuming and computationally expensive. (Id. at 3:24-30, 7:21-33.)

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          All emphasis herein is added unless stated otherwise.

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 1    III.     PRINCIPLES OF CLAIM CONSTRUCTION

 2             “When construing claim terms, we first look to, and primarily rely on, the intrinsic

 3    evidence, including the claims themselves, the specification, and the prosecution history of the

 4    patent, which is usually dispositive.” Sunovion Pharms., Inc. v. Teva Pharms. USA, Inc., 731

 5    F.3d 1271, 1276 (Fed. Cir. 2013). “The specification is always highly relevant to the claim

 6    construction analysis and is, in fact, the single best guide to the meaning of a disputed term.” Trs.

 7    of Columbia Univ. v. Symantec Corp., 811 F.3d 1359, 1363 (Fed. Cir. 2016) (italics in original,

 8    internal quotation marks omitted); see also Phillips v. AWH Corp., 415 F.3d 1303, 1315 (Fed.

 9    Cir. 2005) (en banc). A court may consider extrinsic evidence “as long as those sources are not

10    used to contradict claim meaning that is unambiguous in light of the intrinsic evidence.” Phillips,

11    415 F.3d at 1324.

12    IV.      PROPER CONSTRUCTION OF DISPUTED CLAIM TERMS

13             A.     “Secure” terms (all patents)

14         Claim Term                   MPH’s Construction                       Apple’s Construction
15        “secure         “connection protected by [the] one or more           “IPSec connection” /
          connection”     security protocols”                                  otherwise indefinite
16                                                                             “Forward[ing] using
          “secure[ly]     plain and ordinary meaning, needs no
                                                                               IPSec connection” /
17        forward[ing]”   construction3
                                                                               otherwise indefinite
                          plain and ordinary meaning, needs no
18        “secure                                                              “IPSec message” - /
                          construction. Alternatively: “message protected
          message”                                                             otherwise indefinite
19                        by [the] one or more security protocols”

20             The “secure” terms appear throughout MPH’s patents. Apple focuses its analysis below
21    on the Intermediate Computer Patents and concludes the analysis with a discussion specific to the
22    ’581 and ’302 patents, which raise similar issues.
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27      For space and clarity, Apple has deleted MPH’s positions that this term is not a limitation when
      it appears solely in the preambles of certain claim terms. Apple does not dispute that.
28

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 1                   1.      The “secure” terms in the Intermediate Computer Patents should be
                             construed to require IPsec because the patents characterize the
 2                           purported invention as a system that uses IPsec and do not disclose
                             any non-IPsec embodiments.
 3

 4           The primary question the Court must decide for the “secure” terms is whether they should

 5    be construed to require what the specification for the Intermediate Computer Patents explicitly

 6    says is “essential” to the invention—IPsec. Federal Circuit law is clear: Yes, they should.

 7           The Federal Circuit has consistently held that a specification’s descriptions of the

 8    invention as a whole act to limit the scope of the claims. For example, in GPNE Corp. v. Apple

 9    Inc., 830 F.3d 1365 (Fed. Cir. 2016), the court instructed: “When a patent . . . describes the

10    features of the ‘present invention’ as a whole, this description limits the scope of the invention[.]”

11    Id. at 1371 (quoting Verizon Servs. Corp. v. Vonage Holdings Corp., 503 F.3d 1295, 1308 (Fed.

12    Cir. 2007)). There, GPNE argued that a narrow construction of “node” requiring the capability to

13    “operate[] independently from a telephone network” was improper because it was based on a

14    “single summation sentence” from the specification. Id. at 1371. The Federal Circuit disagreed,

15    because that sentence described “the invention” as a whole as having that capability. Id.

16           Similarly, in Microsoft Corp. v. Multi-Tech Sys., Inc., 357 F.3d 1340 (Fed. Cir. 2004), the

17    Federal Circuit construed “sending,” “transmitting,” and “receiving” to require communication

18    over a telephone line due to “clear statements in the specification that the invention . . . is directed

19    to communications ‘over a standard telephone line.’” Id. at 1348-49. The court explained: “We

20    cannot construe the claims to cover subject matter broader than that which the patentee itself

21    regarded as comprising its inventions and represented to the PTO.” Id. at 1349.

22           The GPNE and Microsoft cases are but two examples of the Federal Circuit’s many

23    consistent holdings. See, e.g., Lemoine v. Mossberg Corp., No. 2020-2140, 2021 WL 4199934, at

24    *3 (Fed. Cir. Sept. 15, 2021) (construing “converting” to require retrofitting where specification

25    stated that the invention related to retrofitting); Verizon, 503 F.3d at 1308 (construing “localized

26    wireless gateway system” to require that the gateway perform compression and packetization

27    where specification stated that the invention required those activities); Andersen Corp. v. Fiber

28    Composites, LLC, 474 F.3d 1361, 1365-68 (Fed. Cir. 2007) (construing “composite composition”

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 1    to require a pellet or linear extrudate form because specification made clear invention required

 2    that); Honeywell, 452 F.3d at 1318 (limiting “fuel injection system component” to a fuel filter

 3    where specification “refer[red] to the fuel filter as ‘this invention’ or ‘the present invention’”);

 4    C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d 858, 864 (Fed. Cir. 2004) (construing “plug” to

 5    require pleats where Summary of the Invention stated that the invention “includes a pleated

 6    surface”); SciMed Life Sys., Inc. v. Advanced Cardiovascular Sys., Inc., 242 F.3d 1337, 1343

 7    (Fed. Cir. 2001) (restricting claims to specific “coaxial” configuration due to specification’s

 8    discussion of “the present invention”). These holdings flow naturally from the more general rule

 9    that “[c]laims must be read in view of the specification, of which they are a part.” See, e.g.,

10    Honeywell, 452 F.3d at 1318 (quoting Phillips v. AWH Corp., 415 F.3d 1303, 1315 (Fed. Cir.

11    2005) (en banc) (alterations omitted)).

12           Here, the specification is unequivocal that the invention requires IPSec. The Summary of

13    the Invention states: “An essential idea of the invention is to use the standard protocol (IPSec)

14    between the intermediate computer and the second computer and an ‘enhanced IPSec protocol’

15    between the first computer and the intermediate computer. IPsec-protected packets are translated

16    by the intermediate computer, without undoing the IPsec processing.” (’949 patent, 7:29-34.)

17    See C.R. Bard, 388 F.3d at 864 (“Statements that describe the invention as a whole are more

18    likely to be found in certain sections of the specification, such as the Summary of the

19    Invention.”). The Summary of the Invention continues that “the system of the invention” “is

20    characterized in that the first and the second computers have means to perform IPSec processing,

21    and the intermediate computer have means to perform IPSec translation . . . .” (’949 patent,

22    8:32-39.)

23           The remainder of the specification is also unequivocal. The specification states that “in

24    the invention, an IPSec connection is shared by the first computer and the second computer,

25    while the intermediate computer holds information required to perform address and IPSec SPI

26    translations for the packets.” (’949 patent, 10:11-15.) It further states that the key exchange in

27    the invention “must establish not only cryptographic keys, but also the IPSec translation table

28    entries.” (Id., 14:21-24.) It declares that “[t]he advantage of the invention is that the logical

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 1    IPSec connection shared by the first and the second computer can be enhanced by the first and

 2    the intermediate computer without involvement of the second computer.” (Id., 10:24-27.)

 3           These statements limiting the invention to IPSec are at least as clear and unequivocal as

 4    those in the Federal Circuit cases discussed above. The patentee said that IPSec is “essential,”

 5    and “[t]he public is entitled to take the patentee at his word.” Honeywell, 452 F.3d at 1318.

 6           MPH misconstrues the specification’s statement that “[t]he invention is not restricted

 7    to . . . any existing protocols, such as the currently standardized IPSec or IKE.” (Br. at 8-9 (citing

 8    ’949 patent, 9:26-33).) This simply means that the invention could be used with later versions of

 9    IPSec (which uses IKE for key exchange) than existed at the time of filing.

10           MPH also cites a sentence that reads: “Preferably, the secure message is formed by

11    making use of the IPSec protocols . . . .” (Br. at 9 (citing ’949 patent, 6:45-67).) But shortly

12    thereafter, the specification clarifies that IPSec is “essential” to the invention. (’949 patent,

13    7:29-32.) The explicit statement that IPSec is “essential” outweighs any inference that IPSec is

14    optional, especially given that the specification identifies no alternative. See In re Acacia Media

15    Techs. Corp., No. C 05-01114, 2008 WL 413747, at *5 (N.D. Cal. Feb. 13, 2008) (finding that

16    “preferably” phrase did not negate statements that feature was essential to invention).

17                   2.      Construing the “secure” terms to require IPSec provides an
                             antecedent basis for claim 8 of the ’949 patent.
18

19           Further support for construing the “secure” terms to require IPSec is that doing so

20    provides the necessary antecedent basis for claim 8 of the ’949 patent. “The requirement of

21    antecedent basis is a rule of patent drafting, administered during patent examination.” Energizer

22    Holdings, Inc. v. Int’l Trade Comm’n, 435 F.3d 1366, 1370 (Fed. Cir. 2006). “In order to provide

23    an explicit antecedent basis, a claim must introduce a given term using an indefinite article (e.g.,

24    ‘a’ or ‘an’) before referring to it in definite form, using ‘the’ or ‘said.’” Comcast Cable

25    Commc’ns, LLC v. Sprint Commc’ns Co., LP, 38 F. Supp. 3d 589, 616 (E.D. Pa. 2014). The lack

26    of an antecedent basis is grounds for finding a claim invalid for indefiniteness. See, e.g., Bushnell

27    Hawthorne, LLC v. Cisco Sys., Inc., 813 F. App’x 522, 526-27 (Fed. Cir. 2020).

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 1              Claim 8 of the ’949 patent states: “The method of claim 1 wherein the method further

 2    comprises the IPSec connection being one or more security associations (SA) and the unique

 3    identity being one or more SPI values.” “The IPSec connection” needs an antecedent basis, but

 4    neither claim 1 nor claim 8 explicitly recites an “IPSec connection.” This evidences the

 5    patentee’s intent to use “secure connection” in claim 1 to provide that antecedent basis.

 6    Construing “secure connection” to mean an IPSec connection accords with the patentee’s intent

 7    and saves claim 8 from indefiniteness. See JBF Interlude 2009 Ltd. v. Quibi Holdings LLC, No.

 8    22:20-CV-2250, 2021 WL 1390367, at *14 (C.D. Cal. Apr. 12, 2021) (construing term in

 9    independent claim to provide antecedent basis for term in dependent claim).

10                     3.      MPH’s claim language arguments are unavailing.

11              MPH incorrectly argues that because some claims recite IPsec, other claims cannot require

12    it. (Br. at 7-8.) “Claim differentiation is ‘not a hard and fast rule,’ but rather a presumption that

13    will be overcome when the specification or prosecution history dictates a contrary construction.”

14    GPNE, 830 F.3d at 1371 (construing “node” to mean pager even though other claims recited

15    “pager”) (quoting Seachange Int’l, Inc. v. C-COR, Inc., 413 F.3d 1361, 1369 (Fed. Cir. 2005)).

16              The Federal Circuit’s Andersen decision is instructive. Some independent claims there

17    recited a “pellet” or “extrudate,” while others did not. 474 F.3d at 1369-70. (See also Ex. A

18    (Andersen patent – U.S. Patent No. 5,932,334) at claims 1, 10, and 19.)4 The patentee argued that

19    the other claims could not be limited to a pellet or extrudate. The Federal Circuit disagreed and

20    explained: “we have held that ‘the written description and prosecution history overcome any

21    presumption arising from the doctrine of claim differentiation.’” Id. at 1370 (quoting Kraft

22    Foods, Inc. v. Int’l Trading Co., 203 F.3d 1362, 1368 (Fed. Cir. 2000)). The court noted that

23    “overlapping patent claims are not unusual.” Id.

24              The Federal Circuit’s decision in Edwards Lifesciences LLC v. Cook Inc., 582 F.3d 1322

25    (Fed. Cir. 2009) is also instructive. There, the patentee argued that because a dependent claim

26    recited a “wire structure,” the independent claim could not require a wire structure. Id. at

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28    4
          All citations of the form “Ex. [#]” are to the Declaration of Ryan Malloy.

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 1    1331-32. The Federal Circuit rejected that argument because the specification made clear that the

 2    claimed invention required wires. Id.; see also Howmedica Osteonics Corp. v. Zimmer, Inc., 822

 3    F.3d 1312, 1323 (Fed. Cir. 2016) (“Although it is a useful tool, claim differentiation does not

 4    require that the ‘dependent claim tail . . . wag the independent claim dog’ in this case.”).

 5           MPH incorrectly argues that its claims cannot require IPSec because ’949 claim 3 and

 6    ’494 claims 6 and 7 recite the use of different protocols (SSL and TLS). (Br. at 7.) MPH’s

 7    argument is based on an unfounded assumption that SSL and TLS would be used to replace

 8    IPSec. The better interpretation is that SSL and TLS would be used to supplement IPSec. That

 9    interpretation accords with the specification’s teaching that IPSec is essential, whereas MPH’s

10    interpretation finds no support in the specification (which never suggests replacing IPSec with

11    SSL or TLS).

12                   4.      If the “secure” terms in the Intermediate Computer Patents are not
                             construed to require IPSec, they should be found indefinite.
13

14           The “secure” terms are indefinite if not limited to IPSec because their scope lacks

15    reasonable certainty. Claim terms are indefinite if their scope cannot be determined with

16    “reasonable certainty” when read in light of the specification and prosecution history. Nautilus,

17    Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 901 (2014). Subjective claim terms are often found

18    indefinite. See, e.g., Berkheimer v. HP Inc., 881 F.3d 1360, 1363-64 (Fed. Cir. 2018) (“minimal

19    redundancy” indefinite); Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1372 (Fed. Cir.

20    2014) (“unobtrusive manner” indefinite); Datamize, LLC v. Plumtree Software, Inc., 417 F.3d

21    1342, 1350-52 (Fed. Cir. 2005) (“aesthetically pleasing” indefinite).

22           Neither the specification nor file history discusses what it means to be “secure.” MPH’s

23    position that “secure” means “protected by one or more security protocols” fails for two reasons.

24    First, no intrinsic evidence supports that position. Rather, the specification says that “[t]he IP

25    security protocols (IPSec) provides the capability to secure communications between arbitrary

26    hosts . . . .” (’949 patent, 1:43-44.) Second, the term “security protocol” is itself indefinite if not

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 1    limited to IPSec, because there is no reasonable certainty as to how much or what type of security

 2    a “security protocol” requires. Thus, the “secure” terms are indefinite if not limited to IPSec.5

 3                     5.      The “secure” terms in the ’581 and ’302 patents also should be
                               construed to require IPSec or otherwise as indefinite.
 4

 5              The “secure” terms in the ’581 and ’302 patents present similar issues. The ’581 patent’s

 6    Summary of the Invention states: “In the invention, the first terminal is movable from one

 7    network to another. Such a terminal can physically be a mobile terminal or a fixed terminal. The

 8    secure connection is an IPSec connection established by forming one or more Security

 9    Associations (SAs) using the IPSec protocols.” (’581 patent, 6:59-64.) The ’302 patent’s

10    Summary states that “in the solution of the invention, an IPSec security association is used” and

11    that “[t]he invention” provides advantages that include “IPSec key management” and “IPSec

12    symmetric encryption and authentication.” (’302 patent, 8:45-58; see also id., 10:7-10 (“In the

13    method of the invention, an IPSec tunnel mode or transport mode security association is

14    used . . . .”).) These statements limit the claims to IPSec for the reasons discussed above.

15              Like the specification of the Intermediate Computer Patents, the specifications of the ’581

16    and ’302 patents do not explain what “secure” means if it does not require IPSec. Therefore, the

17    “secure” terms of the ’581 and ’302 patents should be found indefinite if not limited to IPSec.

18              B.     “Unique identity” (Intermediate Computer Patents)
19                MPH’s Construction                                      Apple’s Construction
20        Plain and ordinary meaning, no construction required.     “One or more SPI values”

21        Alternatively: “one or more parameters that can be        otherwise indefinite
          used to find a destination address”
22

23              The term “unique identity” should be construed as “one or more SPI values” for three

24    reasons. First, the applicants repeatedly represented that the invention uses SPI values. See, e.g.,

25
      5
26      MPH fails to address the indefiniteness of the “secure” terms in its opening brief. The Joint
      Claim Construction Statement expresses Apple’s indefiniteness position with respect to the term
27    “secure message.” (Dkt. No. 92 at 8.) Due to a clerical error, the Statement does not express
      Apple’s indefiniteness positions with respect to the other “secure” term, but Apple did disclose
28    those positions in its Patent Local Rule 4-2 disclosures. (See Ex. Bat 1.)

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 1    GPNE, 830 F.3d at 1371. The specification states: “In the invention, . . . the intermediate

 2    computer holds information required to perform address and IPSec SPI translations for the

 3    packets.” (’949 patent, 10:11-14.) During prosecution, the applicants stated: “One unique

 4    feature of the present invention is that the intermediate computer modifies the addresses and SPI

 5    values of the same pre-existing secure connection i.e. without requiring the setting up of a new

 6    secure connection.” (Ex. C at 8-9 (’949 history, June 29, 2009).) Twice later they argued: “In

 7    the current invention, the intermediate computer . . . is able to use the outer IP addresses and the

 8    incoming SPI value (= unique identity).” (Ex. D at 10 (’949 history, April 7, 2011); id., Ex. E at

 9    10-11 (’949 history, November 7, 2011).)

10            Second, the applicants acted as their own lexicographers to define “unique identity” as

11    SPI values. See Jack Guttman, Inc. v. Kopykake Enters., Inc., 302 F.3d 1352, 1360-61 (Fed. Cir.

12    2002) (“Where, as here, the patentee has clearly defined a claim term, that definition usually is

13    dispositive; it is the single best guide to the meaning of a disputed term.” (internal quotation

14    marks omitted)); Honeywell Inc. v. Victor Co. of Japan, 298 F.3d 1317, 1323 (Fed. Cir. 2002) (“It

15    is well settled that a patentee may define a claim term either in the written description of the

16    patent or, as in the present case, in the prosecution history.”). Specifically, their statement that

17    “SPI value (= unique identity)” constitutes a definition. (Ex. D at 10 (’949 history, April 7,

18    2011), Ex. E at 11 (November 7, 2011).)

19            Third, claim 10 recites: “[t]he method of claim 1 wherein the method further comprises

20    changing both the address and the SPI-value by the intermediate computer.” The term “the

21    SPI-value” lacks an antecedent basis if “unique identity” is not construed to require an SPI value.

22    See Comcast, 38 F. Supp. 3d at 616.6

23
      6
        Apple acknowledges that its proposed construction of “unique identity” differs from its
24    proposed construction in its 2019 IPRs. MPH’s briefing, however, confirms that a more precise
      construction is necessary. In defending its proposed construction, MPH disputes whether a
25    “unique identity” can encompass parameters unrelated to IPsec. (D.I. 95 at 12.) As Apple has
26    explained in connection with the “secure” terms, MPH is incorrect. Apple therefore provides an
      unambiguous construction of “unique identity” consistent with the intrinsic record: “one or more
27    SPI values.” MPH does not claim any prejudice from Apple’s construction as clarified, and there
      is none. As MPH concedes, the PTAB did not construe “unique identity” during the IPR
28

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 1            If “unique identity” is not limited to SPI values, then it should be found indefinite because

 2    there is no reasonable certainty as to scope of the term. See Nautilus, 572 U.S. at 901. The

 3    specification does not explain what it means to be an “unique identity.” Furthermore, the claims

 4    provide inconsistent answers to the question: Identity of what? In particular, ’949 claim 1 recites

 5    a “unique identity of the secure connection,” whereas ’362 claim 1 recites a “unique identity of

 6    the first computer.” MPH’s proposed construction—“one or more parameters that can be used to

 7    find a destination address”—fails to answer that question and also conveys nothing about what it

 8    means for an identity to be “unique.” The only way to provide a definite construction of “unique

 9    identity” is to limit it to SPI values.7

10            C.      “Exchanging keys with one another” / “key exchange protocol” (Intermediate
                      Computer Patents)
11
          Claim Term                 MPH’s Construction                   Apple’s Construction
12
       “exchanging keys          “establishing cryptographic     “A computer sending a key to another
13     with one another”         keys not revealed to the        computer in response to receiving a key
                                 intermediate computer”          from that computer”
14     “key exchange                                             “Protocol for one computer to send a
                                 “protocol for establishing
       protocol”                                                 key to another computer in response to
15                               cryptographic keys”
                                                                 receiving a key from that computer”
16

17            Because the parties seem to agree that the constructions of “key exchange protocol” and
18    “exchanging keys with one another” are linked, Apple addresses these terms together. The
19    parties disagree over whether exchanging keys requires actually exchanging keys between two
20    computers (Apple’s construction), as opposed to only “establishing” keys (MPH’s construction).
21            In addition to the claim language itself, the specification confirms Apple’s construction.
22    Every instance in the specification of “exchanging keys with one another” shows an actual
23
      proceedings. (Br. at 12.) That is in part because MPH stated during the IPRs: “The Board is
24    correct that there is no reason to construe this term; its construction is not material to the grounds
      at issue.” (’502 POR at 18.) When MPH made that statement, it expressly recognized that
25    Apple’s “apparent goal [was] to have ‘unique identity’ [be] . . . limited to the IPSec security
26    protocol.” (Id. at 18-19.) Thus, MPH does not and cannot argue estoppel. See Oxygenator
      Water Techs., Inc. v. Tennant Co., No. 20-cv-358, 2021 WL 3661587, at *4 (D. Minn. Aug. 18,
27    2021).
      7
        MPH fails to address the term’s indefiniteness in its opening brief even though the Joint Claim
28    Construction Statement discloses Apple’s indefiniteness position. (Dkt. No. 92 at 10.)

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 1    exchange of keys. For example, as depicted in Figure 4 of the ’949 patent (annotated below), the

 2    second computer sends its key exchange data to the first computer after it receives key exchange

 3    data from the first computer. At step 5 (annotated in orange), the first computer sends the second

 4    computer a message with “[a] Key Exchange (KE) payload, that contains Diffie-Hellman key

 5    exchange data of the first computer.” (’949 patent, 18:38-39.) At step 7 (annotated in purple),

 6    the second computer “receives [the message] and responds with [its own message]” with “Key

 7    Exchange (KE) payload, that contains Diffie-Hellman key exchange data of the second

 8    computer.” (Id., 18:48-51.)

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17           The prosecution history further supports Apple’s construction. The applicants argued that
18    prior art “fail[ed] to teach or suggest the direct exchange of keys” as there was “no direct
19    exchange between the 25 client [(the first computer)] and the server [(the second computer)] to
20    establish a tunnel between the client 405 to the server 440.” (Ex. F at 11 (’949 history, November
21    16, 2010).) “Consistent with the public notice function of the prosecution history, the public is
22    entitled to rely on these statements as defining the scope of the claims.” Data Engine Techs. LLC
23    v. Google LLC, 10 F.4th 1375, 1383; MBO Labs., Inc. v. Becton, Dickinson & Co., 474 F.3d
24    1323, 1330 (Fed. Cir. 2007). Apple’s construction comports with the “direct exchange”
25    requirement, whereas MPH’s does not.
26           General purpose dictionaries confirm Apple’s position that an “exchange” comprises acts
27    of giving and receiving. (See Ex. G, The American Heritage Dictionary of the English Language,
28

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 1    5th ed. (“exchange” means “to give and receive reciprocally” or “to give in return for something

 2    received.”); Ex. H, Merriam-Webster.com Dictionary (“exchange” means “the act of giving or

 3    taking one thing in return for another”).) MPH provides no basis for deviating from this

 4    commonly understood meaning of “exchange.”

 5            MPH asserts that “‘exchanging keys with one another’ merely means that the first and

 6    second computers establish cryptographic keys without revealing them to the intermediate

 7    computer.” (Br. at 17 (emphasis in original).) This assertion is baseless. For one thing, MPH

 8    ignores that “exchanging” and “establishing” are not synonyms and that the phrase “with one

 9    another” reinforces that an exchange requires interaction. In addition, MPH provides no legal

10    basis for injecting the phrase “without revealing them to the intermediate computer” into its

11    construction of these terms. A different claim limitation recites that “the intermediate computer

12    does not have the cryptographic key to decrypt the encrypted data payload.” (See ’362 claim 1.)

13            MPH erroneously relies on RFC 2412’s statement that “[t]he goal of key exchange

14    processing is the secure establishment of common keying information state in the two parties.”

15    (Br. at 16 (citing RFC 2412).) The issue here is not the goal of a key exchange, but rather what

16    the exchange is. RFC 2412 supports Apple’s construction on that issue. RFC 2412 explains that

17    “roundtrips [are] needed for the keying material determination.” (Br. at Ex. 26, RFC 2412 at 7.)

18    Specifically, “the Initiator of the exchange begins by specifying as much information as he wishes

19    in his first message. The Responder replies, supplying as much information as he wishes. The

20    two sides exchange messages, supplying more information each time, until their requirements are

21    satisfied.” (Id.) Thus, the computers participating in the exchange do not simply “establish[]

22    cryptographic keys” as stated in MPH’s construction.

23            MPH’s reliance on Applied Cryptography is misplaced for the same reason. (Br. at 16

24    (citing Ex. 27).8) That a key exchange results in keys being “agreed upon” does not mean that

25    the agreement is the exchange. Regardless, extrinsic evidence cannot change the meaning of

26    “key exchange” established by the specification and file history. See Phillips, 415 F.3d at 1319.

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      8
       MPH did fail to disclose this reference in its August 3, 2023, Patent L.R. 4-2 Disclosures. (See
28    Dkt. No. 92.) Apple’s position is that MPH should not be permitted to rely on it.

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 1           The Court should not allow MPH to read the word “exchange” out of these terms that

 2    explicitly require an exchange. The Court should adopt Apple’s constructions.

 3           D.      “Negotiating” (’949 claim 1 and ’397 claim 1)

 4             MPH’s Construction                               Apple’s Construction
 5                                                        “Conferring to reach agreement on the
       “agreeing on cryptographic keys”
                                                          parameters for a secure connection”
 6

 7           The first question for the Court is whether “negotiating” means “agreeing” (as MPH
 8    proposes) or “conferring to reach agreement” (as Apple proposes). The second question is
 9    whether the negotiation is solely for cryptographic keys (as MPH proposes) or for the parameters
10    of a secure connection more generally (as Apple proposes). Apple is right on both issues.
11           The specification explains that two computers confer with each other to set up the
12    parameters for a secure connection—just as stated in Apple’s construction. (’949 patent, FIG. 4
13    (annotated below).) The first computer begins by sending an offer to the second computer
14    (step 1, shown in green). (Id., 16:35-48.) The second computer can choose to accept or decline
15    the offer. If it accepts, then it sends a reply (step 3, shown in blue) that “indicates which security
16    configuration is acceptable for the second computer.” (Id., 17:67-18:1.) The first computer then
17    responds with its parameters needed to form the secure connection, including not only the first
18    computer’s key but also other parameters (step 5, shown in orange). (Id., 18:36-44.) The second
19    computer does the same, responding with its key and other parameters (step 7, shown in purple).
20    (Id., 18:48-54.)
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 1            Extrinsic evidence also supports Apple’s construction. General purpose dictionaries

 2    define “negotiate” to mean conferring. (See Ex. I, The American Heritage Dictionary of the

 3    English Language, 5th ed. (negotiate: “[t]o confer with another or others in order to come to

 4    terms or reach an agreement.”); Ex. J, Merriam-Webster.com Dictionary (negotiate: “to confer

 5    with another so as to arrive at the settlement of some matter”).) Furthermore, a computer

 6    networking textbook from the timeframe of the alleged invention explained that “negotiating”

 7    referred to conferring on several parameters for a secure connection (not just keys). (Ex. K

 8    (Andrew S. Tanenbaum, Computer Networks 4th ed. (2003)), 32 (“In some cases when a

 9    connection is established, the sender, receiver, and subnet conduct a negotiation about

10    parameters to be used, such as maximum message size, quality of service required, and other

11    issues. Typically, one side makes a proposal and the other side can accept it, reject it, or make a

12    counterproposal.”), 602 (“When the system is brought up, each pair of firewalls has to negotiate

13    the parameters of its SA, including the services, modes, algorithms, and keys”).)

14            MPH offers no support for its proposed construction. MPH points to the applicants’

15    assertion during prosecution that “the nodes involved in the negotiation and exchange of keys

16    according to the key exchange protocol IKE determines the boundaries of the secure connection.”

17    (Br. at 17 (citing ’949 pat. file hist., 2010-06-22 Appeal Br., pp. 17–18.).) But nothing in this

18    assertion suggests, as MPH contends, that negotiation can occur without interaction.

19            MPH also cites an extrinsic reference RFC 2412, but this reference undermines MPH’s

20    position.9 Just as Figure 4 of the ’949 patent shows a back-and-forth conferring process between

21    two negotiating computers, RFC 2412 describes “roundtrips needed for the keying material

22    determination.” (Dkt. No. 95-27, RFC 2412.) Additionally, RFC 2412 discloses that the two

23    negotiating computers confer on more parameters than just keys. (Id., RFC 2412 (“The goal of

24    key exchange processing is the secure establishment of common keying information state in the

25    two parties. This state information is a key name, secret keying material, the identification of the

26    9
       The other extrinsic reference MPH cites, a cryptography textbook, does not mention
27    “negotiation”; it only discusses a key exchange. (See Br. at Ex. 27, Applied Cryptography.)
      MPH did not disclose this reference in its August 3, 2023, Patent L.R. 4-2 Disclosures, which
28    Apple objected to as untimely and prejudicial. (Dkt. No. 92.)

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 1    two parties, and three algorithms for use during authentication . . . ”); id. (referring to document

 2    describing “how to negotiate acceptable parameter sets”).)

 3             E.     “Negotiating and exchanging keys with one another, by the first and second
                      computer, according to a key exchange protocol to establish the secure
 4                    connection between the first computer and the second computer via the
                      intermediate computer” (’949 claim 1)
 5
                MPH’s Construction                           Apple’s Construction
 6
                                                     “Exchanging keys with one another via the
       “via the intermediate computer” modifies “the
 7                                                   intermediate computer” (i.e., the phrase “via
       secure connection between the first computer
                                                     the intermediate computer” modifies
       and the second computer”
 8                                                   “exchanging keys with one another”)
 9             The claim language presents an ambiguity: whether “via the intermediate computer”
10    modifies the phrase “the secure connection between the first computer and the second computer”
11    or the phrase “exchanging keys with one another.” The intrinsic record confirms it is the latter.
12             All negotiations and key exchanges in the Intermediate Computer Patents occur via the
13    intermediate computer.10 The specification explains that “the overall key exchange [is]
14    performed by the first, intermediate, and second computer.” (’949 patent, 14:22-24.) “The first
15    computer initiates the key exchange protocol by sending a message to the intermediate
16    computer.” (Id. at 15:16-17.) “The intermediate computer determines which security gateway
17    (second computer) to forward this [initiation message] to.” (Id. at 15:21-23.) “The security
18    gateway (the second computer) replies to the [] initiation message.” (Id. at 15:26-27.) “The
19    intermediate computer completes the IKE [(internet key exchange)] mapping based on the reply
20    message.” (Id. at 15:28-29.)
21

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26    10
        (See also ’949 patent, 10:39-43 (“For performing said key exchange, a standard IKE protocol is
27    used between the server 2 [(the intermediate computer)]and the security gateway 3 [(the second
      computer)], and a modified IKE protocol is used between the client computer 1 [(the first
28    computer)] and the server 2 [(the intermediate computer)].”).)

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 1           Furthermore, all figures illustrating the key exchange process between the first and second

 2    computer show it occurring through the intermediate computer. (See ’949 patent, 10:39-43 (“In

 3    the example of FIG. 1, . . . For performing said key exchange, a standard IKE protocol is used

 4    between the server 2 [(the intermediate computer)] and the security gateway 3 [(the second

 5    computer)], and a modified IKE protocol is used between the client computer 1 [(the first

 6    computer)] and the server 2 [(the intermediate computer)].”)) For example, Figure 4 of the

 7    ’949 patent shows a negotiation and exchange between the first and second computer through the

 8    intermediate computer at steps 5-8. (’949 patent, Fig. 4 (annotated below).) The first computer

 9    sends its “key exchange data” (shown in red) through the intermediate computer, and the second

10    computer replies by sending its “key exchange data” (shown in blue) through the intermediate

11    computer. (Id. at 18:36-51.)

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20           The prosecution history of the ’949 patent provides even more conclusive evidence that

21    “via the intermediate computer” modifies the phrase “exchanging keys with one another.” The

22    examiner found “that [the prior art] teaches a direct key exchange between a first computer (client

23    in [the prior art]) and a second computer (server in [the prior art]). (Ex. D at 13 (’949 history,

24    April 7, 2011).) The applicants distinguished the prior art by arguing that the key exchange

25    “takes place between the client and the gateway [(intermediate computer)] . . . and not between

26    the client and the server via the gateway, as required by the amended claim 1.” (Id. at 14.)

27    Thus, the applicants explicitly stated that claim 1 requires that the key exchange occur via the

28    intermediate computer. “Prosecution arguments . . . which draw distinctions between the


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 1    patented invention and the prior art . . . indicate in the inventor’s own words what the invention is

 2    not.” MBO Labs., Inc., 474 F.3d at 1330; see also Shire Dev., LLC v. Watson Pharms., Inc., 746

 3    F.3d 1326, 1332 (Fed. Cir. 2014) (finding that prosecution history statements “inform[ed] the

 4    claim construction” and did not need to “rise to the level of unmistakable disavowal”).

 5              F.     “Intermediate computer” / “computer” (Intermediate Computer Patents)
 6         Claim Term                  MPH’s Construction                   Apple’s Construction
 7     “intermediate             Plain and ordinary meaning, no       Original: “One intermediate
       computer”                 construction required.               computer (not a system of
 8                               Alternatively: “an intermediate      computers)”
                                 networking device (such as a
 9                               server) comprising a stand-alone     Proposed modification: “At least
                                 unit or interconnected units         one intermediate computer that
10                               functioning together to facilitate   individually satisfies each recited
11                               secure communication between         requirement on the intermediate
                                 computers”                           computer”11
12     “computer”                                                     “One intermediate computer (not a
                                                                      system of computers)”
13
                                 Plain and ordinary meaning, no
                                                                      Proposed modification: “At least
14                               construction required.
                                                                      one computer that individually
15                                                                    satisfies each recited requirement on
                                                                      the computer”
16

17              The claims of the Intermediate Computer Patents impose multiple requirements on an
18    “intermediate computer” or “computer,” including various activities that the computer must
19    perform. For example, ’949 claim 1 recites: “the intermediate computer receiving the secure
20    message and performing a translation”; “the intermediate computer substituting the first
21    destination address with the second destination address”; “substituting, at the intermediate
22    computer, the first unique identity with a second unique identity”; and “forwarding, at the
23    intermediate computer, the secure message.” The question for the Court is whether these
24    activities must be performed by the same single computer (as Apple contends) or instead can be
25    performed by a network of different computers (as MPH contends).
26

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28    11
           Apple proposes modifications to clarify its constructions for the reasons explained below.

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 1           The Federal Circuit considered the same issue in Traxcell Techs., LLC v. Nokia Sols. &

 2    Networks Oy, 15 F.4th 1136 (Fed. Cir. 2021). The claims there “recite[d] a ‘computer’ or ‘first

 3    computer’ capable of taking certain actions.” Id. at 1143. “The question [was] whether these

 4    capabilities all belong to one computer or can be spread among multiple.” Id. The Federal

 5    Circuit affirmed the district court’s holding that one computer was required, explaining:

 6           As a matter of plain language, reciting “a computer” (or a “first computer”) that
             performs a function, and then further reciting that “the computer” (or “said first
 7           computer”) performs multiple additional functions, suggests that such “computer”
             must be tied to all those functions. And it would make little sense—indeed, it
 8           would defy the concept of antecedent basis—for the claims to recite “the
             computer” or “said first computer” being “further” programmed to do a second set
 9           of tasks if a different computer were to do those tasks instead.
10    Id. at 1143-44 (emphasis in original).

11           Similarly here, it would make little sense for the claims to recite that “the intermediate

12    computer” performs multiple activities if those activities could be performed by multiple

13    computers. The applicants used a different word—“network”—to refer to multiple computers.

14    For example, ’949 claim 1 recites “an intermediate computer in a telecommunication network,”

15    which implies that the intermediate computer is one component in the broader network of

16    computers. Consistently, the specification states that a “local area network (LAN)” “typically

17    connects workstations, personal computers, printers and other devices.” (’949 patent, 1:19-21.)

18           MPH’s reliance on cases holding that “a” or “an” means “one or more” is misplaced.

19    (See Br. at 19-20.) The Federal Circuit recently explained why in Salazar v. AT&T Mobility LLC,

20    64 F.4th 1311 (Fed. Cir. 2023). The claims in Salazar recited “a microprocessor” in which “said

21    microprocessor” performed various activities. Id. at 1313. The patentee argued that “a correct

22    claim construction would encompass one microprocessor capable of performing one claimed

23    function and another microprocessor capable of performing a different claimed function, even if

24    no one microprocessor could perform all of the recited functions.” Id. at 1315. The Federal

25    Circuit disagreed. Id. at 1315-18. The court acknowledged that “a microprocessor” meant “one

26    or more microprocessors,” citing two of the cases cited by MPH. Id. at 1315-16 (citing Baldwin

27    Graphic Sys., Inc. v. Siebert, Inc., 512 F.3d 1338 (Fed. Cir. 2008); KCJ Corp. v. Kinetic

28    Concepts, Inc., 223 F.3d 1351, 1356 (Fed. Cir. 2000)). Nonetheless, the court held that “it does

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 1    not suffice to have multiple microprocessors, each able to perform just one of the recited

 2    functions; the claim language requires at least one microprocessor capable of performing each of

 3    the recited functions.” Id. at 1318. The court explained by analogy: “for a dog owner to have ‘a

 4    dog that rolls over and fetches sticks,’ it does not suffice that he have two dogs, each able to

 5    perform just one of the tasks.” Id. (quoting In re Varma, 816 F.3d 1352, 1363 (Fed. Cir. 2016)).

 6           To avoid any ambiguity, Apple also proposes a modified construction of these terms: “At

 7    least one [intermediate] computer that individually satisfies each recited requirement on the

 8    [intermediate] computer.” Apple’s modified construction is not intended to be a substantive

 9    change from its original proposed construction. Instead, Apple’s proposed modified construction

10    clarifies its position that, consistent with Salazar, the claims require that at least one computer

11    individually satisfy each recited requirement for the “intermediate computer.” Salazar, 64 F.4th

12    at 1315-18; Traxcell, 15 F.4th at 1143-44.

13           MPH’s proposed construction—covering “interconnected units functioning together to

14    facilitate secure communication between computers”—should be rejected. This language appears

15    nowhere in the specification and instead stems from dictionary definitions divorced from the issue

16    at hand. That a computer can comprise interconnected units (e.g., a microprocessor, a hard drive,

17    etc.) does not support MPH’s effort to extend “computer” to a network of different computers.

18           Therefore, the Court should adopt Apple’s construction (as clarified above).

19           G.      “The intermediate computer configured to receive from a [mobile / second]
                     computer a secure message sent to the first network address” (’494 claim 1
20                   and ’362 claim 1)
21            MPH’s Construction                                Apple’s Construction
22     “The intermediate computer configured to          “The intermediate computer configured to
       receive a secure message sent from a [mobile      receive a secure message that a [mobile /
23     / second] computer to the first network           second] computer sent to the first network
       address”                                          address”
24

25           The parties’ dispute regarding this term is nuanced but important. The parties disagree

26    about whether the intermediate computer receives a message that the mobile / second computer

27    sent directly to it (Apple’s construction), or whether the intermediate computer simply needs to

28    receive a message that was sent passively from the mobile / second computer (MPH’s


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 1    construction). MPH’s construction would cover any message “passively sent from a [mobile /

 2    second] computer” so long as it reaches an intermediate computer eventually, even though that

 3    message was not directly addressed to the intermediate computer from the mobile / second

 4    computer. (Br. at 23.) That proposed construction is inconsistent with the Federal Circuit’s

 5    construction of this term, MPH’s own arguments in that appeal, and the intrinsic record.

 6           The Federal Circuit already decided that the claims require direct sending. On appeal

 7    from the PTAB’s final written decision on the ’494 patent IPR, the Federal Circuit explained:

 8    “The plain meaning of ‘intermediate computer configured to receive from a mobile computer a

 9    secure message sent to the first network address’ requires the mobile computer to send the

10    message to the first network address. . . . The plain language establishes direct sending.” Apple

11    Inc. v. MPH Techs. Oy, 28 F.4th 254, 261 (Fed. Cir. 2022).

12           The Federal Circuit found that “the written description confirms this plain meaning.” Id.

13    “It describes how the mobile computer forms the secure message with ‘the destination

14    address . . . of the intermediate computer.” Id. (citing ’494 patent at 6:56-58, 11:32-33). “The

15    mobile computer then sends the message to that address.” Id. (citing ’494 patent at 6:58-63).

16    “There is no passthrough destination address in the intermediate computer that the secure

17    message is sent to before the first destination address.” Id.

18           MPH contorts the Federal Circuit’s opinion to argue that it supports MPH’s passive

19    sending construction because it “recognized the claims’ use of passive language.” (Br. at 24.)

20    But the Federal Circuit explicitly found that “the claims use passive voice is of no import. The

21    plain language established direct sending.” MPH, 28 F.4th at 261.

22           MPH also incorrectly claims that its construction “mirrors” the Federal Circuit’s

23    explanation that “the written description describes the secure message as sent from the

24    [mobile/second] computer directly to the first destination address.” (Br. at 24 (citing MPH, 28

25    F.4th at 261).) But MPH’s construction—purportedly “describing the ‘secure message [as] sent

26    from a [mobile/second] computer to the first network address’”—omits a critical word from the

27    Federal Circuit’s language: “directly.”

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 1           Furthermore, MPH defended a construction requiring direct sending in its appellate

 2    briefing. In particular, MPH agreed with the PTAB’s finding that the challenged limitation

 3    “require[s] that the mobile computer send messages ‘directly’ to the first network address [(the

 4    intermediate computer)],” asserting that the PTAB “applied [the claims’] plain meaning.” Apple

 5    Inc. v. MPH Techs. Oy, No. 21-1532, Dkt. No. 23 at 19 (Aug. 18, 2021). MPH’s statements are

 6    part of the intrinsic record here. Aylus Networks, Inc. v. Apple Inc., 856 F.3d 1353, 1362 (Fed.

 7    Cir. 2017) (patentee’s statements during IPR proceedings are part of the prosecution history);

 8    Springs Window Fashions LP v. Nova Indus., L.P., 323 F.3d 989, 995 (Fed. Cir. 2003) (“[t]he

 9    public notice function of a patent and its prosecution history requires that a patentee be held to

10    what he declares during the prosecution of his patent.”).

11           MPH provides no basis for this Court to deviate from the Federal Circuit’s construction of

12    this term. The Court should adopt that construction (as stated in Apple’s proposal).

13           H.      “Establishing a secure connection having a first address of the mobile
                     terminal as a first endpoint and a gateway address of the security gateway as
14                   a second endpoint … the mobile terminal sending a secure message in the
                     secure connection from the second address of the mobile terminal to the other
15                   terminal via the security gateway” (’581 claim 1)
16            MPH’s Construction                                         Apple’s Construction
17     same as claim language and adds: [wherein the              Indefinite
       secure connection is between the mobile terminal and
18     the security gateway protecting the other terminal]

19           This term is indefinite because (1) the bounds of the “secure connection” are unclear

20    given the lack of proper antecedent basis; and (2) it requires an impossibility.

21           The “secure connection” is defined in the first part of the term as “having a first address of

22    the mobile terminal as the first end-point and a gateway address of the security gateway as the

23    second end-point”—in other words, the secure connection starts at the mobile terminal and ends

24    at the security gateway. The last limitation, however, refers to “the secure connection from the

25    second address of the mobile terminal to the other terminal via the security gateway,” which

26    requires that the secure connection extend from the mobile terminal beyond the security gateway

27    to “the other terminal.” The secure connection of the last limitation is not the same secure

28    connection as the antecedent basis “a secure connection.”

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 1           “[A] claim could be indefinite if a term does not have proper antecedent basis where such

 2    basis is not otherwise present by implication or the meaning is not reasonably ascertainable.”

 3    Halliburton Energy Servs., Inc. v. M-I LLC, 514 F.3d 1244, 1249 (Fed. Cir. 2008). A claim

 4    limitation lacks antecedent basis “where it would be unclear as to what element the limitation was

 5    making reference.” Baldwin, 512 F.3d at 1343. For instance, “if two different levers are recited

 6    earlier in [a] claim, the recitation of ‘said lever’ in the same or subsequent claim would be unclear

 7    where it is uncertain which of the two levers was intended.” Id.

 8           Here, worse than in Baldwin, the secure connection is redefined and changed throughout

 9    the claim. The secure connection is first defined in limitation 1(a) as between the first address of

10    the mobile terminal to the security gateway. It then changes in limitation 1(c) to “the secure

11    connection to be defined between the second address [of the mobile terminal] to the gateway

12    address.” And in the last limitation, the secure connection extends from “the second address of

13    the mobile terminal to the other terminal via the security gateway.” Because of these multiple

14    uses of “secure connection,” it is unclear where the secure connection begins and ends.

15           This term is also indefinite because it requires an impossibility. See Synchronoss Techs.,

16    Inc. v. Dropbox, Inc., 987 F.3d 1358, 1366–67 (Fed. Cir. 2021) (holding claims indefinite where

17    they were nonsensical and required an impossibility). The term requires that “the mobile terminal

18    send[] a secure message in the secure connection from the second address of the mobile terminal

19    to the other terminal via the security gateway.” But the term also says that the secure connection

20    stops at the security gateway and does not reach the other terminal. It would therefore be

21    impossible to send a secure message in the secure connection to the other terminal.

22           Contrary to MPH’s contention, the disputed term cannot simply be understood by

23    referring back to the secure connection “having a first address of the mobile terminal as a first

24    end-point and a gateway address of the security gateway as a second end-point” (Br. at 5),

25    especially in the context of the surrounding claim language. As the preamble states, the claimed

26    method is “for ensuring secure forwarding of a message.” MPH’s reading of the claim language

27    in an attempt to save this term from indefiniteness makes it impossible to ensure secure

28    forwarding of a message. MPH relies on the specification to argue that the “connection between

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 1    the security gateway and the other terminal may be . . . unsecure ‘plaintext’” (Br. at 5). But

 2    sending unsecure plaintext from the security gateway to the other terminal cannot “ensure secure

 3    forwarding of a message.”

 4           Moreover, MPH’s reliance on only Figure 1 is misplaced. Figure 1 is just an example of a

 5    telecommunication network “to be used in the invention.” It does not describe the method of the

 6    invention itself. Rather, FIG. 5 is what “describes the method of the invention to enable to

 7    mobility for IPSec connections.” MPH ignores that, as explicitly stated in claim 1(c), the secure

 8    connection changes to be defined between the first address and the gateway to between the

 9    second address and the gateway address of the security gateway, and then from “the second

10    address of the mobile terminal to the other terminal via the security gateway,” per the last

11    limitation—changes that Figure 1 does not contemplate or address at all. Nothing in the claim

12    language or the prosecution history suggests that any part of securely forwarding a message per

13    the claims would entail sending unsecured plain text.

14           Because the “secure connection” lacks proper antecedent basis, making the bounds of the

15    secure connection unclear, and the asserted claims are nonsensical and require impossibility,

16    those skilled in the art cannot determine the scope of the invention with reasonable certainty.

17    This claim term is therefore indefinite.

18           I.      “Wherein the computer is a mobile computer in that the address of the
                     mobile computer changes” (’502 claim 1)
19
             MPH’s Construction                                      Apple’s Construction
20
       “wherein the computer is a computer capable of moving between Indefinite
21     networks in that the address of the computer can change”

22           The Federal Circuit “has held that ‘reciting both an apparatus and a method of using that
23    apparatus renders a claim indefinite under section 112, paragraph 2.’” Rembrandt Data Techs.,
24    LP v. AOL, LLC, 641 F.3d 1331, 1339 (Fed. Cir. 2011) (quoting IPXL Holdings, L.L.C. v.
25    Amazon.com, Inc., 430 F.3d 1377, 1384 (Fed. Cir. 2005)). In Rembrandt, the disputed claim
26    recited “[a] data transmitting device for transmitting signals” and “transmitting the trellis encoded
27    frames.” Id. at 1339. The court found the claim indefinite because it recited the “transmitting”
28

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 1    step in an apparatus claim. Id. ’502 claim 1 is indefinite for that reason. The claim is an

 2    apparatus claim directed to “[a] computer for sending messages.” But the limitation at issue

 3    recites a step in using the computer—changing its address. This creates an ambiguity as to

 4    whether the claim is infringed upon making a computer capable of changing addresses or when a

 5    computer actually changes addresses. See IPXL, 430 F.3d at 1384.

 6           MPH misreads this limitation as a functional limitation that describes the mobile

 7    computer’s capability. (Br. at 25.) But as MPH acknowledges, the term “mobile computer”

 8    alone already connotes “a computer that is capable of moving between networks.” (Br. at 24.)

 9    The phrase “the address of the mobile computer changes” recites something more—an action

10    that the mobile computer actually performs. That is impermissible in an apparatus claim.

11           MPH improperly attempts to redraft this limitation by adding the word “can” in front of

12    “change” in its proposed construction. The patentee in Rembrandt tried to do the same thing.

13    641 F.3d at 1339. The Federal Circuit rejected that effort, explaining that “courts may not redraft

14    claims, whether to make them operable or to sustain their validity.” Id. (quoting Chef Am., Inc. v.

15    Lamb–Weston, Inc., 358 F.3d 1371, 1374 (Fed. Cir. 2004)). The same is true here. MPH cannot

16    add “can” to this limitation. If the intent of the applicants was to connote capability, then they

17    were required to include language like “can” or “capable of.”

18           Therefore, the Court should find this limitation indefinite.

19    V.     CONCLUSION
20           Apple’s proposed constructions correctly apply Supreme Court and Federal Circuit law to

21    the claim language and intrinsic evidence at issue here. MPH’s constructions deviate from the

22    claim language and intrinsic evidence in an effort to ensnare ideas that the applicants for its

23    patents did not invent. Therefore, the Court should adopt Apple’s constructions.

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 1     Dated: November 2, 2023                     MORRISON & FOERSTER LLP

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